AO 440 (Rev. 06/12) Summons in a Civil Action

Summons and Complaint Return of Service

Case No. 2:23-cv-11718
Hon. Stephen J. Murphy, II

(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

Bill Bachenberg
was received by me on (date)

OCeteber 2, 2023

1M I personally served the summons on the individual at (place) 2750 |\mesi one Street Cao|

Qs,

PA 18037 at Si\48 pm on (date) October 2 2023 +

1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

O I served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)

on (date) ; or

1 I returned the summons unexecuted because or

O Other (specify):

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date: |O-2-23 _ a Hardon f wlll

Server's signature

% \ = —
Gordon &. Crowell Sr Parcess Server
Printed name and title

{260 Uhler Road Puri OS Easton PA (Seda

Server’s address

Additional information regarding attempted service, etc: \wn the process of efreohaathing Sevvice, Bill
Bachehbuxo, attem pred tp t ake my phone out of my vant hand and punched me on he
inside of my elbow, He then attempted to yank my phone ou of my hand again and
Shruckc me in Fhe Yight Shoulder Collarloone. He then pushed me and I 4+wisted my
Fels ip whch 1s nealing from oO Wire yeplacement, Bill Bachenbersy ioy oceeded he
Scream te “call the pclice,’ ‘doar feb him oud) “hes trespassinoy " Whe Pennsylvani ar

State Police veport Wumloer ie! PAZO23~- 12444415 there was @ Citation issued te

Bill Bachenbera. The ENS ‘Yepovt is enclosed. 1 went +o Sh. Lukes Hospital Anderson Counps
tov \read ment
Case 2:23-cv-11718-SJM-APP ECF No. 4, PagelD.36 Filed 10/05/23 Page 2 of 3
OM 7-2

SP 7-004A (12-2022) 12/5/2022

PENNSYLVANIA STATE POLICE

Law Enforcement Victims’ Rights Guide

RIGHTS AND SERVICES AVAILABLE TO VICTIMS
OF CRIME IN PENNSYLVANIA.

PA 9093-129 4444,
INCIDENT INVESTIGATION INFORMATION

1. CALICASE NO, 72. DATE

PAtor3- | LF 944) ) is] 62/22
3. NATURE OF INCIDENT

Ha ra Sen orl
& INVESTIGATOR ~ _ 3. BADGE NO.
PPA. Bele cashes (G9f7
6. STATION 7. TELEPHONE NO.
PSP Beth, feb en bid - S6t - Zoot

SHOULD YOU OBTAIN ANY INFORMATION WHICH WOULD AID OR RELATE TO AN
INVESTIGATION, IF YOU HAVE BEEN INTIMIDATED OR THREATENED AS A RESULT OF
AN INVESTIGATION, OR IF YOU HAVE ANY QUESTIONS, PLEASE CONTACT THE STATION
AT THE TELEPHONE NUMBER SHOWN ABOVE.

38.3
